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        VIA CM/ECF

        November 4, 2019

          The Honorable Paul W. Grimm
          U.S. District Court for the District of Maryland
          6500 Cherrywood Lane, Suite 465A
          Greenbelt, MD 20770

                      Re:       American Academy of Pediatrics v. FDA, No. 8:18-cv-00883-PWG

        Dear Judge Grimm:

               On behalf of the intervenor trade associations, we ask that the Court address an
        outstanding procedural issue – entry of a final judgment pursuant to Fed. R. Civ. P. 58.

                 The docket does not contain a separate document entering final judgment. In this Court’s
        October 2, 2019 Order (Doc. #154), which granted the trade associations’ motion to intervene for
        the purpose of appealing the Merits Decision (Doc. #73) and Remedies Order (Doc. #127), the
        Court stated “[c]ertainly, litigation in this Court has concluded with the issuance of a final
        judgment.” Oct. 2, 2019 Order at 3 (citing the Merits Decision and Remedies Order); see also
        id. at 6 (“Further, a final judgment has been entered in this case.”). While these statements
        indicate that the Court believed that a final judgment had been entered, there is no separate
        docket entry clearly indicating as such. Accordingly, so that there is no confusion on appeal, we
        respectfully request that this Court set out a final judgment in a separate document pursuant to
        Fed. R. Civ. P. 58 or otherwise formally confirm such a judgment has been entered.

                    We greatly appreciate the Court’s attention to this matter.


                                                                   Sincerely,




                                                                   Eric P. Gotting




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